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 9 VITAMIN SHOPPE, INC.
10                        UNITED STATES DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13 EMA BELL, on behalf of herself and all      )   Case No.
   others similarly situated,                  )
14                                             )   DEFENDANT VITAMIN SHOPPE,
                Plaintiff,                     )   INC.’S NOTICE OF REMOVAL
15                                             )
         vs.                                   )   [28 U.S.C. § 1332, 1441, 1446, AND
16                                             )   1453]
   VITAMIN SHOPPE, INC. a Delaware             )
17 Corporation; and DOES 1-10, inclusive,      )
                                               )
18               Defendant.                    )
                                               )
19                                             )
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21 TO THE CLERK OF THE UNITED STATES DISTRICT COURT AND TO
22 ALL PARTIES:
23         PLEASE TAKE NOTICE that Defendant Vitamin Shoppe, Inc. (“Defendant”
24 or “Vitamin Shoppe”) hereby removes this action filed in the California Superior
25 Court for the County of Los Angeles (“State Court”) to the United States District
26 Court for the Central District of California (“District Court”) pursuant to 28 U.S.C. §§
27 1332, 1441, 1446, and 1453. Defendant’s removal of this matter is based on the
28 grounds set forth below.
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 1 I.      BACKGROUND
 2         1.     On January 28, 2019, Plaintiff Ema Bell (“Plaintiff” or “Bell”) originally
 3 filed a putative class action against Defendant in the Superior Court of the State of
 4 California, County of Los Angeles, case number 19STCV02493 against Defendant
 5 (the “State Court Action”).      A true and correct copy of Plaintiff’s Complaint is
 6 attached as Exhibit A to the Declaration of Brett N. Taylor filed concurrently
 7 herewith (the “Taylor Declaration”).
 8         2.     Attached as Exhibit B to the Taylor Declaration is a true and correct
 9 copy of the docket and all process, pleadings, and orders in the State Court Action,
10 other than the Complaint which is attached as Exhibit A.
11         3.     The State Court Action alleges, inter alia, that Defendant made automatic
12 renewal and continuous service offers to California consumers at the time they
13 purchased vitamin and supplement products (the “Offers”) from Defendant, and that
14 the Offers allegedly “failed to present the terms of said offers in clear and conspicuous
15 manner” and “failed to provide an acknowledgment that includes the automatic
16 renewal or continuous service offer terms” in violation of Cal. Bus. & Prof. Code §§
17 17602(a)(1)-(3) and 17602(b). (Ex. A ¶ 2.)
18         4.     The State Court Action sought a class of persons in California only. (Ex.
19 A ¶¶ 1, 22.) Specifically, Plaintiff seeks to represent the following class:
20                [A]ll persons within California that, within the applicable statute of
21                limitations period up to and including entry of judgment in this matter,
22                purchased any product or service in response to an offer constituting an
23                ‘Automatic Renewal’ as defined by § 1601(a) of the ARL from defendant
24                Vitamin Shoppe, its predecessors, or its affiliates, via the website
25                vitaminshoppe.com.” (Ex. A ¶ 22.)
26         5.     Plaintiff seeks restitution, injunctive and declaratory relief, costs, and
27 attorney’s fees. (Ex. A ¶ 3 and Prayer for Relief ¶¶ A-J.)
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 1         6.    Plaintiff served the Summons and Complaint for the State Court Action
 2 on Vitamin Shoppe on January 31, 2017. (Ex. B.) As this Notice of Removal is filed
 3 within 30 days of service of the State Action Complaint on Defendant, it is timely
 4 under 28 U.S.C. §§ 1446(b) and 1453. See Murphy Bros. v. Michetti Pipe Stringing,
 5 Inc. 526 U.S. 344, 354 (1999).
 6 II.     REMOVAL UNDER THE CLASS ACTION FAIRNESS ACT
 7         7.    The Class Action Fairness Act (“CAFA”) applies to civil class actions
 8 commenced on or after February 18, 2005. See Pub. L. No. 109-2 § 9, 119 Stat. 4, 14
 9 (2005).
10         8.    Under CAFA, this Court has original federal jurisdiction of any class
11 action where the amount in controversy exceeds $5,000,000 exclusive of costs and
12 where any member of a putative class is a citizen of a different state than any
13 defendant. 28 U.S.C. § 1332(d)(2)(A); Broadway Grill, Inc. v. Visa Inc., 856 F.3d
14 1274, 1276-77 (9th Cir. 2017).
15 III.    THE COURT HAS SUBJECT MATTER JURISDICITON UNDER CAFA
16         A.    Diversity of Citizenship Exits.
17         9.    The diversity of citizenship for removal under CAFA is proper when
18 “any member of a class of plaintiffs is a citizen of a State different from any
19 defendant.” 28 U.S.C. § 1332(d)(2)(A). Thus, in order to satisfy CAFA's diversity
20 requirement, the party seeking removal need only show that minimal diversity exists,
21 that is, one putative class member is a citizen of a different state than one defendant.
22 Id.; see also United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. &
23 Serv. Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087, 1090-91
24 (9th Cir. 2010) (noting that CAFA provides expanded original diversity jurisdiction
25 for class actions meeting the amount in controversy and minimal diversity and
26 numerosity requirements pursuant to 28 U.S.C. § 1332(d)(2)); Bush v. Cheaptickets,
27 Inc., 425 F.3d 683, 684 (9th Cir. 2005).
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 1               1.      Plaintiff is a Citizen of California.
 2         10.   To establish citizenship for diversity purposes, a natural person must be
 3 both (1) a citizen of the United States, and (2) domiciled in the state. Kantor v.
 4 Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). “A natural person is
 5 deemed to be a citizen of the state where he or she is domiciled, which is where he or
 6 she resides with the intention to remain.” Zavala v. Deutsche Bank Trust Co. Ams.,
 7 2013 U.S. Dist. LEXIS 96719 (N.D. Cal. July 10, 2013) (citing Kantor, 704 F.2d at
 8 1090 and Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For
 9 purposes of diversity of citizenship, citizenship is determined by the individual's
10 domicile at the time the lawsuit is filed. Lew v. Moss, 797 F.2d 747, 750 (9th Cir.
11 1986) (citing Hill v. Rolleri, 615 F.2d 886, 889 (9th Cir. 1980)).
12         11.   Plaintiff's Complaint alleges that she “is a citizen of California and is
13 domiciled in Los Angeles, CA.” (Exh. A ¶ 12.)
14         12.   Moreover, Plaintiff’s class definition is limited to California residents.
15 (Ex. A ¶¶ 1, 22.)
16         13.   Thus, based on Plaintiff’s own allegations, it is apparent that Plaintiff is a
17 citizen of California for purposes of diversity jurisdiction, and that all putative class
18 members would be California citizens as well. Plaintiff does not allege any alternative
19 state of citizenship.
20               2.      Defendant Is Not A Citizen of California.
21         14.   A corporation is a citizen of the state where (i) it has been incorporated;
22 and (ii) its principal place of business is located. 28 U.S.C. § 1332(c). The principal
23 place of business for a corporation is determined by the location of its “nerve center,”
24 which includes the location of its headquarters and the location where its “officers
25 direct, control, and coordinate the corporation's activities.” Hertz Corp. v. Friend, 559
26 U.S. 77, 78 (2010).
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 1         15.   Plaintiff alleges that Defendant is incorporated in and existing under the
 2 laws of the State of Delaware. (Exh. A ¶ 13.) Defendant confirms that this allegation
 3 is correct. (Declaration of Carlos Lopez (“Lopez Decl.”) ¶ 3.)
 4         16.   Plaintiff also alleges that Defendant’s principal place of business is in
 5 Secaucus, New Jersey. (Exh. A ¶ 13.) Defendant confirms that this allegation is
 6 correct. (Lopez Decl. ¶ 4.)
 7         17.   Defendant is not now, nor ever has been, a citizen and/or resident of the
 8 state of California within the meaning of citizenship and/or residency relating to the
 9 removal of class actions. (Lopez Decl. ¶ 5.) 28 U.S.C. § 1332(c)(1); Hertz, 559 U.S.
10 at 97. Thus, Defendant is not a citizen of California for the purposes of determining
11 diversity.
12         18.   As set forth above, by Plaintiff’s own admission, all members of the
13 putative class would be citizens of a different state than Defendant (Ex. ¶¶ 1, 22) and,
14 thus, the minimal diversity requirement is satisfied. 28 U.S.C. § 1332(d)(2)(A).
15         B.    The Size of the Proposed Class Exceeds One Hundred (100)
16               Members.
17         19.   According to the Complaint, the proposed class includes “all persons
18 within California that, within the applicable statute of limitations period up to and
19 including entry of judgment in this matter, purchased any product or service in
20 response to an offer constituting an ‘Automatic Renewal’ as defined by § 1601(a) of
21 the ARL from defendant Vitamin Shoppe, its predecessors, or its affiliates, via the
22 website vitaminshoppe.com.” (Ex. A ¶ 22.) Plaintiff also alleges that “[t]he members
23 of the Class are so numerous that joinder of all members is impracticable.” (Exh. A ¶
24 24.) Plaintiff further alleges that she “is informed and believes [that] the Class
25 includes hundreds of thousands of members.” (Ex. A ¶ 24.)
26         20.   Based on Plaintiff’s own allegations, it is clear that the number of
27 consumers who purchased products from Defendant through the Offers within the
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 1 applicable statute of limitations period far exceeds 100 persons.1 Defendant’s own
 2 research confirms this. (Lopez Decl. ¶ 6.)
 3         21.   Accordingly, the putative class is well in excess of one hundred (100)
 4 persons in the aggregate as required under CAFA. 28 U.S.C. § 1332(d)(5)(B).
 5         C.    The Amount-In-Controversy Requirement Is Satisfied.
 6         22.   As specified in 28 U.S.C. § 1446(a), a defendant’s notice of removal
 7 need include only a plausible allegation that the amount in controversy exceeds the
 8 jurisdictional threshold; the notice need not contain evidentiary submissions. Dart
 9 Cherokee Basin Operating Co. LLC. v. Owens, 135 S. Ct. 547, 554 (U.S. 2014).
10         23.   Plaintiff defines the class as encompassing all California consumers who
11 purchased products from Defendant through the Offers within the applicable statute of
12 limitations period. (Exh. C, ¶ 90.)
13         24.   Defendant’s review of sales information on a California basis over the
14 last four years demonstrates that the California sales for products purchased through
15 the Offers during this time period, and the amount of funds for which the putative
16 class seeks restitution, exceeds $5,000,000. (Lopez Decl. ¶ 6.)
17         25.   Accordingly, CAFA’s $5,000,000 amount-in-controversy is satisfied.
18 Nelson v. BIC USA, Inc., 2008 WL 906049, at *4 (S.D. Cal. Apr. 1, 2008); Goddard v.
19 Google Inc., 2008 WL 4542792, at *2-3 (N.D. Cal. Oct. 10, 2008).
20         D.    Plaintiff's Complaint Also Seeks the Recovery of Attorneys’ Fees.
21         26.   Attorneys’ fees are properly included in determining the amount in
22 controversy. Guglielmino v. McKee Foods Corp., 506 F.3d 696, 700 (9th Cir. 2007)
23 (holding that “the amount-in-controversy requirement excludes only ‘interest and
24 costs' and therefore includes attorneys' fees”).
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            All of Plaintiff’s purported claims are brought under California’s Unfair
26 Competition Law, Business & Professions Code Section 17200, et. seq. (“UCL”). In
27 turn, “[a]ny action to enforce any cause of action pursuant to [the UCL] shall be
   commenced within four years after the cause of action accrued.” Cal. Bus. & Prof.
28 Code § 17208.
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 1         27.    Plaintiff includes requests for attorneys’ fees in its Complaint. (Exh. A, ¶
 2 3 and Prayer for Relief ¶ (I).)
 3         28.    The Ninth Circuit has recognized a “25% [] benchmark award for
 4 attorney fees.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998).
 5         29.    The inclusion of attorneys’ fees is unnecessary for purposes of
 6 determining the amount in controversy in this action, because, as discussed above,
 7 Plaintiff's alleged causes of action alone, without the inclusion of attorneys' fees, well
 8 exceeds the CAFA removal requirements. However, in any event, any calculation of
 9 attorneys' fees on a putative California class would only add to the amount in
10 controversy.
11 IV.     NONE OF THE EXCEPTIONS TO CAFA JURISDICTION APPLY
12         30.    Although CAFA contains certain exceptions, none apply here:
13                A.    Under 28 U.S.C. § 1332(d)(4)2, CAFA does not extend federal
14                      diversity jurisdiction to class actions in which more than two-thirds
15                      of the members of the proposed class are citizens of the State in
16                      which the action was originally filed, at least one defendant from
17                      whom significant relief is sought and whose alleged conduct forms
18                      a significant basis for the asserted claims is a citizen of the State in
19                      which the action was originally filed, and the principal injuries
20                      occurred in the State in which the action was originally filed.
21                      Here, the sole Defendant from whom relief is sought is not a
22                      citizen of the State of California. Accordingly, the provisions of
23                      28 U.S.C. § 1332(d)(4) do not preclude the exercise of federal
24                      jurisdiction.
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27         Plaintiff bears the burden of establishing that the “local controversy”
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   exception applies. Allen v. Boeing Co., 821 F.3d 1111, 1116 (9th Cir. 2016); Serrano
28 v. 180 Connect, Inc., 478 F3d 1018, 1024 (9th Cir. 2007).
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 1               B.    Under 28 U.S.C. §§ 1332(d)(5), CAFA does not extend federal
 2                     diversity jurisdiction to class actions in which “the primary
 3                     defendants are States, State officials, or other governmental entities
 4                     against whom the district court may be foreclosed from ordering
 5                     relief” or “the number of members of all proposed plaintiff classes
 6                     in the aggregate is less than 100.” Here, Defendant is not a state,
 7                     state official, or other governmental entity. Further, the putative
 8                     class is alleged to be over 100 citizens. Accordingly, the
 9                     provisions of 28 U.S.C. § 1332(d)(5) do not preclude the exercise
10                     of federal jurisdiction.
11               C.    Under 28 U.S.C. § 1332(d)(9), CAFA does not extend federal
12                     diversity jurisdiction to class actions involving solely (A) securities
13                     covered under the federal securities laws, (B) a corporation’s
14                     internal affairs or governance, or (C) the “rights, duties (including
15                     fiduciary duties), and obligations relating to or created by or
16                     pursuant to any security.” 28 U.S.C. § 1332(d)(9)(A)-(C). The
17                     allegations in Plaintiff’s Complaint do not relate to such claims.
18                     Accordingly, the provisions of 28 U.S.C. § 1332(d)(9) do not
19                     preclude the exercise of federal jurisdiction.
20        31.    For the foregoing reasons, this action is removable pursuant to 28 U.S.C.
21 §§ 1441, 1446, and 1453.
22 V.     DEFENDANT HAS COMPLIED WITH ALL PREREQUISITES FOR
23        REMOVAL
24        32.    Consent of other parties is not required for removal under CAFA’s mass
25 action jurisdiction. See 28 U.S.C. § 1453(b). Additionally, here there are no parties
26 other than Plaintiff and removing Defendant.
27        33.    This Court is a proper venue for this action pursuant to 28 U.S.C. §
28 1441(a).     The United States District Court for the Central District of California
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 1 embraces the County of Los Angeles, in which the State Action is now pending. See
 2 28 U.S.C. § 84(c)(2).
 3        34.   Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings and
 4 orders served upon Defendant, including the Summons and Complaint, is attached to
 5 the accompanying Taylor Declaration as Exhibits A and B.
 6        35.   Defendant is also serving a copy of this Notice of Removal on all adverse
 7 parties pursuant to 28 U.S.C. § 1446(d). A copy of the notice to all adverse parties
 8 and the state court is attached (without exhibits) as Exhibit C to the declaration of
 9 Brett N. Taylor.
10
11 Dated: March 4, 2019                  COZEN O'CONNOR
12
13                                       By:
                                               Amy B. Alderfer
14                                             Brett N. Taylor
                                               Attorneys for Defendant
15                                             VITAMIN SHOPPE, INC.
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